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   VIA ELECTRONIC FILING
   Hon. Robert M. Levy, USMJ
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

                          Re:    U.S. v. Cherwitz, et el., No. 23-cr-146

   Dear Judge Levy:

            Defendants are in receipt of this Court’s November 12, 2024, scheduling order
   rescheduling the November 20, 2024, conference to tomorrow, November 13 at 1:00 PM.
   Unfortunately, Defendants and their attorneys are unavailable on November 13 to appear
   for this conference due to other professional obligations.

            Specifically, both of Ms. Daedones’ trial attorneys just landed in Chicago, Illinois
   for two full days of back-to-back depositions in a § 1983 case Munoz v. Guevara, et. al.,
   23-cv-03210 pending in the United States District Court for the Northern District of
   Illinois. These depositions have been scheduled for over a month, involve several
   attorneys and witnesses who have cleared their schedules and non-refundable travel costs.
   Moreover, the case has a firm fact discovery deadline that would not allow to reschedule
   to these depositions in any event.

           Additionally, Ms. Cherwitz, who was in New York, just traveled to Washington
   D.C. with pretrial Services given proper notice and will not be returning to New York
   until Thursday afternoon. Furthermore, Ms. Cherwitz’s lead counsel, Imran Ansari has a
   prescheduled deposition that has already been rescheduled and cannot be rescheduled
   again at this late juncture.

           As such, the parties respectfully propose this Court hold this conference on
   Friday, November 15 at 9 AM (or earlier), prior to the scheduled status hearing before
   District Court Judge Gujarati at 9:30 AM. All counsel and Defendants are available at
   that time.

                                                 Respectfully Submitted,
                                                 /s/ JENNIFER BONJEAN
                                                 /s/ IMRAN H. ANSARI
